     Case 3:19-cr-00507-L Document 101 Filed 05/31/22         Page 1 of 11 PageID 552



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA                             CRIMINAL NO. 3:19-CR-507-L

v.

SEKHAR RAO

        GOVERNMENT’S AMENDED PROPOSED VOIR DIRE QUESTIONS

         Pursuant to Rule 24 of the Federal Rules of Criminal Procedure, the United States,

through undersigned counsel, files this Amended Notice of Proposed Voir Dire Questions,

which includes and supplements the Proposed Voir Dire previously filed by the

government on October 5, 2021 (Dkt. 55). The government hereby requests that the Court

ask the jury panel the following questions, in addition to any other questions the Court may

ask. Questions for panel members who respond to the initial inquiry appear in italics.

                                     General Questions

         Preliminary: If any of you believe that your answer to any of the questions asked

would be embarrassing to you personally if answered in the presence of everyone in the

courtroom, please let me know and you will be allowed to reply to me and the attorneys

privately.

          1.    Please raise your hand if you personally know Chad E. Meacham, the

 acting United States Attorney, or any members of his staff. Would that acquaintance

 affect your ability to be fair and impartial in this case?




Government’s Proposed Voir Dire—Page 1
  Case 3:19-cr-00507-L Document 101 Filed 05/31/22             Page 2 of 11 PageID 553



        2.     Please raise your hand if you personally know Jamie de Boer or Lee

 Hirsch, the attorneys representing the United States in this case. Would that acquaintance

 affect your ability to be fair and impartial in this case?

        3.     Please raise your hand if you personally know Sekhar Rao, the

 defendant in this case. Would that acquaintance affect your ability to be fair and

 impartial in this case?

        4.     Please raise your hand if you personally know Stephen Green, Jeffrey

 Clark, or Gregg Gallian, the defense attorneys in this case. Would that acquaintance

 affect your ability to be fair and impartial in this case?

        5.     Please raise your hand if any of you are related to, or acquainted with, any

 one of the following witnesses that may testify in this case. (Please have government

 and defense attorneys read witness lists.) Would that relationship or acquaintance affect

 your ability to be fair and impartial in this case?

        6.     Please raise your hand if you recognize another member of the jury

 panel as being a relative, close friend, or associate. Would that relationship or

 acquaintance affect your ability to be fair and impartial in this case?

        7.     Please raise your hand if you have any philosophical, moral, or

 religious beliefs that would make you uncomfortable about sitting in judgment of

 another human being, in other words judging the guilt or innocence of another

 person. How would your beliefs affect your consideration of this case?

        8.     Please raise your hand if you feel that a defendant cannot receive a fair

 trial in our judicial system. What are your thoughts on that subject?

Government’s Proposed Voir Dire—Page 2
  Case 3:19-cr-00507-L Document 101 Filed 05/31/22             Page 3 of 11 PageID 554



       9.     Just as the defendant is entitled to a fair trial, so is the government,

 represented here by attorneys from the Department of Justice. Is there anyone who,

 because of something in your background or beliefs, something you’ve seen or heard

 on television or radio, or have read in the newspapers, cannot give the government

 the same fair trial in this type of case that you will give the defendant? Please

 explain.

       10.     Please raise your hand if you have ever had a personal interest in the

outcome of a criminal case. In other words, if you, a member of your family, or a close

friend have been the victim of a crime, arrested for or charged with a crime (other than

a traffic ticket), or a witness to a crime, please raise your hand.

       a. Please explain, (i.e. were you a victim, accused of a crime, or a witness)

       b. Would that experience affect your consideration of this case? How?

       11.     Please raise your hand if you, your relatives, or your close friends have

ever been a party to any legal action or proceeding involving the United States, its

officers, agents, or employees. This would include civil proceedings, such as social

security benefits, tax payments, or immigration issues involving the federal

government. Would that experience affect your consideration of this case? How?

       12.    Please raise your hand if you have served on a jury in federal or state

court trial. Was it a civil or criminal case? What type of case was it? Were you able

to reach a verdict?

       13.     At the conclusion of the case, jurors will have to make their decisions

based on the law, which I will give to the jury in my instructions, even if the jurors

Government’s Proposed Voir Dire—Page 3
 Case 3:19-cr-00507-L Document 101 Filed 05/31/22            Page 4 of 11 PageID 555



disagree with the law. As jurors, you are required to follow the law that I give you,

even if you disagree with it. Please raise your hand if you believe you might not be

able to follow my instructions regarding laws you disagree with. What are your

thoughts on that subject?

       14.    For example, the defendant is charged in the indictment with Conspiracy

to Commit Health Care Fraud and Health Care Fraud. You will get more detailed

instructions at the close of the case, but understand that a “conspiracy” is an agreement

between two or more persons to knowingly join together to accomplish some unlawful

purpose. One may become a member of a conspiracy without knowing all the details

of the unlawful scheme or the identities of all the other alleged conspirators, and even

minor players can be part of the conspiracy if they knowingly agreed to do something

unlawful. Is there anyone who thinks that someone who does not know all of the

details or is only a minor player can never be part of a conspiracy?

       15.    The government need not prove that an alleged conspirator entered into

any formal or written agreement, nor that they directly stated between themselves all

the details of the scheme. Is anyone uncomfortable that the government does not have

to prove a formal or written agreement?

       16.    The law provides that the defendant is innocent until proven guilty. Is

there anyone who believes that the defendant is guilty simply because he has been

charged with a crime? Is there anyone who cannot keep an open mind and wait to

decide whether the defendant is guilty or not guilty until you have heard all of the

evidence in the case?

Government’s Proposed Voir Dire—Page 4
 Case 3:19-cr-00507-L Document 101 Filed 05/31/22            Page 5 of 11 PageID 556



       17.    The law provides that the government must prove the guilt of the

defendant beyond a reasonable doubt. That is the highest burden contemplated in our

judicial system, but it is not an insurmountable burden. Please raise your hand if you

think that government’s burden of proof should be even higher, such as beyond a

shadow of a doubt, or beyond any doubt. What are your thoughts on that subject?

       18.    If the United States proves the guilt of the Defendant beyond a

reasonable doubt as to the crimes charged in the indictment, would any of you have

difficulty in returning a verdict of guilty?

       19.    It is my duty, as judge, to determine punishment if you find, after

considering the evidence and my instructions as to the law you must apply, that the

defendant is guilty of one or more counts in the indictment. The law does not permit

you to consider the issue of punishment because there are factors, having nothing to do

with this trial, which will help me determine the appropriate sentence, if any. Is there

anyone who feels that he or she might take the potential punishment into account when

deliberating on a verdict? In other words, is there anyone who would vote “not guilty”

simply because of the possible sentence that I might later impose?

       20.    This case was investigated by the Defense Criminal Investigative Service

(or DCIS), the U.S. Department of Health and Human Services Office of Inspector

General (or HHS-OIG), and the Federal Bureau of Investigation (or FBI). Please raise

your hand if you, your relatives, or close friends, have had any experience with any of

these agencies, the Department of Justice, the United States Attorney’s Office, or any



Government’s Proposed Voir Dire—Page 5
     Case 3:19-cr-00507-L Document 101 Filed 05/31/22                    Page 6 of 11 PageID 557



    other law enforcement agency (state or federal) that might influence your ability to be

    fair and impartial in this case.

            21.     Witnesses in this case may include federal agents. Would any of you be

    more likely to believe the testimony of a federal agent, just because that witness is a

    federal agent? Would any of you be less likely to believe the testimony of a federal

    agent, just because that witness is a federal agent?

            22.     If you are selected as a juror, I anticipate that you will hear both direct

    and circumstantial evidence during the trial. Direct evidence is direct proof of a fact,

    such as testimony of an eyewitness. Circumstantial evidence is proof of facts from

    which you may infer or conclude that other facts exist. 1 I will instruct you that the law

    makes no distinction between the weight you may give to either direct or circumstantial

    evidence, meaning that just because a fact is proven by circumstantial evidence, it can

    carry just as much weight as a fact proved by direct evidence. Notwithstanding this

    instruction, does anyone believe that they would not be able to convict a defendant just

    because the defendant’s guilt was established through circumstantial evidence?

            23.     This case will involve reading documents, including medical

    documents, written in English. Is there anyone who has difficulty understanding or

    reading the English language?




1
    Fifth Circuit Pattern Jury Instructions No. 1.01 (Criminal 2019)..

Government’s Proposed Voir Dire—Page 6
 Case 3:19-cr-00507-L Document 101 Filed 05/31/22            Page 7 of 11 PageID 558



       24.     Can you think of any reason, if you are chosen to sit on this jury, why

you might not be able to render a fair and impartial verdict based solely upon the

evidence and the law as I will instruct you at the conclusion of the case?

                           Questions Regarding COVID-19

       25.     Please raise your hand if you or someone in your household is at high

risk for complications from contracting COVID-19 because of age, medical condition,

or other characteristic.

       26.     Please raise your hand if you are a healthcare worker directly involved

in the treatment of COVID-19 patients, or work in a field that puts you in direct contact

with people who have been diagnosed with COVID-19.

       27.     Please raise your hand if you have childcare or elder care concerns that

make it difficult for you to serve as a juror as a result of COVID-19.

       28.     Please raise your hand if you would be unable to wear a mask and abide

by the Court’s social distancing requirements throughout your service as a juror.

       29.     Please raise your hand if you think you would have difficulty hearing

and/or understanding court personnel, attorneys, and witnesses who are wearing a

mask or face shield.

                                Case-Specific Questions

       30.     In this case, the defendant is charged with conspiring to commit health

care fraud and with committing health care fraud. Is there anyone who would have

difficulty being fair and impartial to either the defendant or the government simply

because of the nature of the case and the type of charges involved?

Government’s Proposed Voir Dire—Page 7
 Case 3:19-cr-00507-L Document 101 Filed 05/31/22                       Page 8 of 11 PageID 559



          31.     In this case the government may call as witnesses one or more individuals

who has entered into a plea agreement with the government and pled guilty to a crime.

Plea agreements typically provide for the dismissal of some charges or a

recommendation for a favorable sentence. Such plea bargaining, as it is called, has been

approved as lawful and proper, and is expressly provided for in the rules of this court. 2

Is there anything about such testimony that would make you unable to sit fairly and

impartially as a juror? Do you believe the Government should not present the

testimony of a cooperating witness? Do you believe that such testimony is more or

less believable?

          32.     Do you believe that you will be able to fairly and impartially consider

the testimony of cooperating witnesses with all other evidence? Could you keep an

open mind and listen to the testimony of the witnesses and consider it with all the other

evidence in the case before deciding whether to believe the witness or not? Is there

anyone who thinks they cannot do that?

          33.     Please raise your hand if you, an immediate family member, or close

friend have ever worked in the health care industry. Please explain.

          34.    Please raise your hand if you have ever had a negative experience with a

health care provider or health insurance program. Please explain.

          35.    Please raise your hand if you have ever had a urine drug or toxicology

test? Please explain.



      2
          Fifth Circuit Pattern Jury Instructions No. 1.16 (Criminal 2019).

Government’s Proposed Voir Dire—Page 8
 Case 3:19-cr-00507-L Document 101 Filed 05/31/22            Page 9 of 11 PageID 560



       36.    Please raise your hand if you have ever had a DNA cancer risk screening

test? If yes, what type of test? Was the test prescribed by a medical professional?

Were you consulted about the risks and benefits of the test? Were you provided the

results of your test and were they explained to you? Do you know how much your

insurance was billed for the test?

       37.    Please raise your hand if you, any member of your immediate family, or

any close friend ever worked for the Defense Health Agency or any other government

entity that provides or administers health care services. Please explain.

       38.    Please raise your hand if you or any member of your immediate family

are currently eligible for and using TRICARE benefits. Please explain who is eligible,

when they became eligible, and the general nature of the benefits the person uses.

       39.    Please raise your hand if you, your relatives, or close friends have had a

bad experience with TRICARE that might affect your ability to be fair and impartial in

this case?

       40.    Do you have any strong opinions (good or bad) about TRICARE

generally? Please explain.

       41.    Is there anyone who believes that if someone lies to TRICARE to get

money from TRICARE, then TRICARE is somehow (or at least partially) at fault?

       42.    You may hear testimony from individuals who have served, or currently

serve, in a branch of the United States military, or their family members. Is there

anyone who would be more likely to believe testimony from such a witness simply

because they are associated with the military? Is there anyone who would be less likely

Government’s Proposed Voir Dire—Page 9
 Case 3:19-cr-00507-L Document 101 Filed 05/31/22           Page 10 of 11 PageID 561



to believe testimony from such a witness simply because they are associated with the

military?

       43.    You may hear testimony from individuals who have struggled with

substance abuse and who have sought treatment for substance abuse. Is there anyone

who has had experiences with individuals struggling with substance abuse that

believes that such individuals are dishonest?

       44.    Please raise your hand if you have had experience with substance abuse

treatment, either personally or through a member of your family or close friend who

has undergone treatment for a drug or alcohol addiction? Please explain.

       45.    Have you, or any member of your family, or close friends, to the best of

your knowledge, been a victim of health care fraud? In other words, was your health

insurance ever billed for services that you did not need or that you did not receive?

       46.    Have you, or any member of your family, or close friends, to the best of

your knowledge, ever been investigated for health care fraud? If so, what were the

circumstances?

                                         Respectfully submitted,

                                         CHAD E. MEACHAM
                                         ACTING UNITED STATES ATTORNEY

                                         JOSEPH S. BEEMSTERBOER
                                         ACTING CHIEF, FRAUD SECTION

                                         /s/ Jamie de Boer
                                         Jamie de Boer
                                         Lee Michael Hirsch
                                         Trial Attorneys


Government’s Proposed Voir Dire—Page 10
 Case 3:19-cr-00507-L Document 101 Filed 05/31/22           Page 11 of 11 PageID 562



                                          Fraud Section, Criminal Division
                                          U.S. Department of Justice
                                          1100 Commerce Street, Suite 300
                                          Dallas, TX 75242
                                          Telephone: (202) 304-6801 (de Boer)
                                          Telephone: (202) 805-5911 (Hirsch)
                                          Email: Jamie.deBoer@usdoj.gov
                                          Email: Lee.Hirsch@usdoj.gov


                            CERTIFICATE OF SERVICE

       I certify that on May 31, 2022, I electronically filed the forgoing document with

the Clerk of Court for the United States District Court, Northern District of Texas using

the CM/ECF system.

                                                 /s/ Jamie de Boer
                                                 Jamie de Boer
                                                 Trial Attorney




Government’s Proposed Voir Dire—Page 11
